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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                    AT TRENTON




                                                      )
 BRYAN MESSENGER,                                      )
                                                       )
          Plaintiff,                                   )      Case No.: 3:17-cv-03755
                                                       )
 v.                                                    )
                                                       )
 NATIONAL BOARD OF MEDICAL                             )
 EXAMINERS                                             )
      Defendant.                                       )
                                                       )
                                                       )

_________________________________________________________________________________

                           MOTION FOR ORDER ALLOWING
                      MICHAEL STEVEN STEIN, ESQ. TO APPEAR
                                    PRO HAC VICE
      _________________________________________________________________________

         Comes now, Clara R. Smit, Esq. and moves this Honorable Court to enter an Order

allowing Michael Steven Stein to appear and participate pro hac vice in this matter. Mr. Stein is

a member in good standing of the Bars of Massachusetts, District of Columbia, and New York,

and the Bars of multiple federal courts. Mr. Stein’s Certified Statement is attached to this

Motion.

Dated: June 2, 2017                                  Respectfully submitted,


                                                     s/Clara R. Smit
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